           Case 1:21-cr-00143-ELR-CCB Document 74 Filed 09/19/22 Page 1 of 2


ORIGINA L                  IN THE UNITED STATES DISTRICT COU
                                                                             - - --ii,.\:.u i t t ~ SOFFICE
                                                                                          u..s.o,C.-Attanta
                          FOR THE NORTHERN DISTRICT OF GEOR

       UNITED ST ATES OF AMERICA

                V.

       VICTOR HILL


                          APPLICATION FOR WRIT OF HABEAS CORPUS

           The undersigned Assistant United States Attorney hereby applies to the captioned court
   for the issuance of a writ of habeas corpus ad testificandum and avers:

       1. Name of detainee (and detainee number, if known) : Joseph Harper; 1003170803

       2. Detained by Georgia Diagnostic Classification State Prison - 2978 GA-36, Jackson, GA
          30233

       3. Detainee is a witness not otherwise available by the ordinary process of the Court.

       4. Appearance is necessary on October 7, 2022, at 8:00 AM. in Courtroom Number 1708,
          OR before the Federal Grand Jury sitting in Room Number 2037, of the United States
          Courthouse for the district, for Trial, specifically as a testifying witness.




                                                     Assistant United States Attorney

                                     WRIT OF HABEAS CORPUS

   X Ad Testificandum

           The instant application is granted and the above-named custodian, as well as the United
   States Marshal for this district, his deputies, and other United States Marshals and their
   deputies, is and are directed to produce the named detainee, in civilian clothes, on the date, at
   the time, and in the place recited above, and thereafter to maintain the said detainee within the
   jurisdiction of this Court pending the satisfaction of this writ or the further orders of the Court.


   Date:   0   q/ I q f
                /.   .
                           , 2022                    ;:~1-JL;( fc>~
                                                     Eleanor L. Ross
                                                     United States District Judge
       Case 1:21-cr-00143-ELR-CCB Document 74 Filed 09/19/22 Page 2 of 2




 Memorandum
 United States Attorney
 Northern District of Georgia



 Subject                                                Date

 WRIT OF HABEAS CORPUS                                  September 19, 2022
 To                                                     From

 MICHAELS. YEAGER                                       Brent A. Gray
 U.S. MARSHAL                                           Assistant United States Attorney
                                                        404-581-6077



The following information is submitted in order to expedite the execution of the attached Writ
of Habeas Corpus, to assist in the proper identification of the defendant and/ or witness, and to
aid in the safety of transporting deputies.

NAME: Joseph Harper
NAME OF INSTITUTION AND LOCATION: Georgia Diagnostic Classification State Prison-
2978 GA-36, Jackson, GA 30233
WILL CUSTODIAN INSTITUTION AGREE TO RELEASE PRISONER ON WRIT? Yes
           NAME OF PERSON AGREEING TO RELEASE: Ashley Hansen
           TELEPHONE NUMBER OF PERSON AGREEING TO RELEASE: (770) 504-7326
ALIASES:
DOB OR AGE: 02/17/1991                                RACE: White
FBI NUMBER: Victim in this case                       USM OR BOP NUMBER: None
STATE PRISONER NUMBER: 1003170803
PENDING FEDERAL CHARGES: None
CASE NUMBER: 1:21-CR-00143-ELR-CCB
Special handling considerations, separates, or special security measures deemed necessa1y:
None




It is understood that 21 days are needed to process Writs of Habeas Corpus except those directed to
federal institutions located in the Northern District of Georgia. State institutions require 21 working
days. I have checked with the institution involved and they are willing to release the individual.
